                          No. 3:15-cr-00037-2
              IN THE UNITED STATES DISTRICT COURT FOR THE
                     MIDDLE DISTRICT OF TENNESSEE
                          NASHVILLE DIVISION
   _____________________________________________________________

                          UNITED STATES OF AMERICA,
                                              Plaintiff,

                                         vs.

                         BENJAMIN BRADLEY,
                                          Defendant.
    ____________________________________________________________

     BENJAMIN BRADLEY’S REPLY TO THE GOVERNMENT’S
OPPOSITION TO MOTION TO DISMISS FORFEITURE ALLEGATIONS
                AND DENY A MONEY JUDGMENT
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      Benjamin Bradley respectfully submits this reply to the government’s

response in opposition to his motion to dismiss the forfeiture allegations and deny a

money judgment.

      Bradley’s motion asks the Court to honor two recent Supreme Court

decisions: Southern Union Co. v. United States, 567 U.S. 343 (2012), and Honeycutt

v. United States, _ U.S. _, 137 S. Ct. 1626, 1632–33 (2017). The government’s

response sidesteps those decisions. It focuses on case law predating both Southern

Union and Honeycutt (see Gov’t Resp. at 12–17, 26) and argues Bradley has

somehow waived his right to assert these claims in a newly remanded proceeding.

(Id. at 22, 25.) What the government neglects to do, however, is explain how this


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Court can impose criminal penalties that are authorized neither by Bradley’s guilty

plea nor (with respect to the money judgment) the relevant statutes. The Court

therefore should grant Bradley’s motion.

                                   DISCUSSION

      The Court should dismiss the Indictment’s forfeiture allegations because they

seek a penalty that this Court cannot grant. The Sixth Amendment denies the

judiciary the power to use its own factfinding to alter the range of penalties to which

a defendant is exposed. Alleyne v. United States, 570 U.S. 99, 114–15 (2013). The

government argues forfeiture penalties are exempt from this foundational rule.

(Gov’t Resp. at 12–22.) The Supreme Court made clear, however, that the Sixth

Amendment has “never distinguished one form of punishment from another.”

Southern Union, 567 U.S. at 350. Bradley asks the Court to follow Southern Union’s

mandate and dismiss the Indictment’s forfeiture allegations.

      Additionally, the Court should deny the government a money judgment

against Bradley because there is no statutory basis for that penalty. See 21 U.S.C. §

853. Honeycutt admonished courts to refrain from going beyond the bounds of the

forfeiture statutes when crafting forfeiture penalties. 137 S. Ct. at 1632–33. The

government failed to identify any textual authorization for money judgments in the

relevant statutes. (See Gov’t Br. at 25–28.) The Court therefore should follow

Honeycutt and deny the government a money judgment here.



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I.    The Court should dismiss the forfeiture allegations

      The Sixth Amendment prohibits judicial imposition of criminal punishments

that have not been authorized by a jury’s verdict or a defendant’s admissions.

Blakely v. Washington, 542 U.S. 296, 306 (2004). Courts are therefore prohibited

from engaging in factfinding that alters the “legally prescribed range” of

punishment. Alleyne, 570 U.S. at 115. After lower courts repeatedly carved out

exceptions to this principle, the Supreme Court emphatically stated that the Sixth

Amendment protects defendants from all forms of criminal punishment. Southern

Union, 567 U.S. at 350.

      Here, the government’s forfeiture allegations seek a criminal penalty that is

not authorized by Bradley’s guilty plea. The government argues this Court can

nevertheless order forfeiture because it should disregard Southern Union in favor of

prior nonbinding precedent. Alternatively, the government argues that Bradley has

either somehow waived his Sixth Amendment rights regarding forfeiture or that any

violation of his rights would be harmless error. These arguments lack merit.

      A.    Southern Union requires the Sixth Amendment’s application to all
            forms of criminal punishment, including forfeiture

      Southern Union requires the Sixth Amendment’s application to all forms of

criminal punishment, including forfeiture. The government’s arguments to the

contrary ask this Court to apply dicta from Libretti or Sixth Circuit precedent

predating Southern Union, with the aim of avoiding alleged practical difficulties.

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(Gov’t Resp. at 12–22.) These arguments sidestep Southern Union’s mandate that

courts cannot use judicially found facts to expand the authorized range of

punishment. This Court should reject the government’s arguments and hold that the

Sixth Amendment applies to criminal forfeiture.

             i)     Libretti does not prevent this Court from following Southern
                    Union

      Libretti did not reach the Sixth Amendment issue raised by Bradley’s motion.

There, the Supreme Court addressed the procedural requirements necessary for a

defendant’s written stipulation that he had forfeited his assets to the government to

constitute a valid waiver of the jury right for forfeiture provided by former Federal

Rule of Criminal Procedure 31(e). 516 U.S. at 31–32. Here, in contrast, Bradley

expressly denied the forfeiture allegations, and he now argues this Court cannot

order forfeiture precisely because there is no stipulation, admission, or jury verdict

providing the requisite factual findings. (See Motion at 2.) Libretti did not—and

indeed could not—decide the question raised here.

      The government nevertheless attempts to apply Libretti as a shield against

Southern Union based on a portion of the majority opinion that states, “the right to

a jury verdict on forfeitability does not fall within the Sixth Amendment’s

constitutional protection.” (See id. (quoting Libretti, 516 U.S. at 49).) But the cited

language from Libretti is dicta. The Supreme Court has long defined an opinion’s

holding—as opposed to its dicta—as the analysis necessary to the result. See, e.g.,

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Church of the Lukumi Babalu Aye, Inc. v. City of Hialeah, 508 U.S. 520, 572–73

(1993) (Souter, J., concurring) (noting that “a rule of law unnecessary to the outcome

of a case” is likely dicta); N.L.R.B. v. Int'l Bhd. of Elec. Workers, Local 340, 481

U.S. 573, 591–92 n.15 (1987) (classifying a prior decision’s assertion as dicta

because “[t]his statement was unnecessary to the disposition of [that case]”);

Kastigar v. United States, 406 U.S. 441, 454–55 (1972) (“The broad language in [a

prior case] relied upon by petitioners was unnecessary to the Court’s decision, and

cannot be considered binding authority.”).

      Libretti’s Sixth Amendment discussion was not necessary to the outcome of

that case. As the government concedes, the question before the Court was whether

the defendant validly waived his statutory right to a jury determination of forfeiture

by stipulating to the forfeitability of his property within his plea agreement. (See

Gov’t Resp. at 12).     The defendant argued former Federal Rule of Criminal

Procedure 11(c) required the court to provide “specific advice” concerning his right

to a jury determination on forfeiture, rendering his waiver in the absence of that

advice insufficient. Libretti, 516 U.S. at 48. The Court rejected this argument. Id.

at 49–50. The absence of a Sixth Amendment right to a jury determination on

forfeiture was not necessary to conclude that former Rule 11(c) did not require

specific advice for a waiver of that right to be valid. The government’s argument to

the contrary grossly oversimplifies both criminal procedure and constitutional law.



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       First, as the Supreme Court noted in that same paragraph, former Rule 11(c)

only required specific advice for waivers of “certain constitutional rights.” Libretti,

516 U.S. at 50 (emphasis added). Second, the conduct required for waiver of a

constitutional right varies enormously depending on the discrete right at issue—even

among rights enshrined within the same constitutional amendment. Cf. Montejo v.

Louisiana, 556 U.S. 778, 795 (2009) (holding that the Sixth Amendment right to

counsel is waived unless expressly invoked).            Thus, Libretti’s holding that a

defendant validly waived his right to a jury determination on forfeiture certainly did

not depend on the jury right lacking a constitutional foundation.

       Justice Souter’s concurrence makes these points explicit. He concurs in the

judgment yet refuses to join the majority’s discussion of the Sixth Amendment

because waiver of the Sixth Amendment jury right for forfeiture, if it existed, would

“be satisfied by the court’s obligatory advice . . . of the right to a jury trial generally.”

Libretti, 516 U.S. at 52 (Souter, J., concurring). Libretti’s Sixth Amendment

discussion was clearly not necessary to the result and is therefore dicta.

       Moreover, the foundation underpinning Libretti’s Sixth Amendment dicta is

obsolete. The Supreme Court decided Libretti prior to its adoption of the modern

Sixth Amendment framework in Apprendi v. New Jersey, 530 U.S. 466 (2000).

Notably, the case Libretti cites for its Sixth Amendment conclusion—McMillan v.

Pennsylvania, 477 U.S. 79 (1986)—was abrogated by this framework. See Alleyne,



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570 U.S. at 121 (Sotomayor, J., concurring) (noting that McMillan had been

overruled). The government asks the Court to choose between Southern Union and

Libretti. Fortunately, that choice is clear: this Court should follow Southern Union

and dismiss the Indictment’s forfeiture allegations.

              ii)   The Sixth Circuit has not addressed this question

        The government concedes that the Sixth Circuit “has not yet directly

addressed Southern Union’s applicability to criminal forfeiture.” (Gov’t Resp. at

15.) The panel opinion declares this an open question and suggests that Southern

Union now requires courts to revisit the Sixth Amendment’s application to criminal

forfeiture. United States v. Bradley, 897 F.3d 779, 784 (6th Cir. 2018).

        Rather than directly engage the open question set forth in the panel opinion

on the merits, the government applies obsolete analysis from Sixth Circuit decisions
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predating Southern Union.           First, the government cites those decisions’

characterization of forfeiture as a “form of indeterminate sentencing.” (Gov’t Resp.

at 14.) Second, it relies on that characterization to argue that the Sixth Circuit’s prior

case law remains binding on this Court because it is not inconsistent with Southern

Union. (Gov’t Resp. at 15.) Both elements of that argument lack foundation and

ignore that the panel itself called this question open. See Bradley, 897 F.3d at 785.


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 Specifically, the government relies on United States v. Corrado, 227 F.3d 543 (6th
Cir. 2000), United States v. Hall, 411 F.3d 651 (6th Cir. 2005), and United States v.
McAuliffe, 490 F.3d 526 (6th Cir. 2007).

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      Forfeiture is not an indeterminate sentencing scheme. It is a mandatory

penalty applicable whenever the relevant facts are found. United States v. Monsanto,

491 U.S. 600, 607 (1989). The government’s suggestion that the forfeiture statutes

lack a “statutory maximum” because those statutes prescribe a precise penalty rather

than a range of penalties is illogical. (See Gov’t Resp. at 14.) Justice Gorsuch

recently highlighted the fallacy of this position, noting that it “misunderstands the

teachings of our cases.” Hester v. United States, _ U.S. _, 139 S. Ct. 509, 509–11

(2019) (Gorsuch, J., dissenting from the denial of certiorari). He elaborated, “We’ve

used the term ‘statutory maximum’ to refer to the harshest sentence the law allows

a court to impose based on facts a jury has found or the defendant has admitted.” Id.

Here, until Bradley admits (or a jury finds) the facts necessary to subject his property

to forfeiture, the maximum penalty authorized by law is zero. See id.

       Moreover, if forfeiture is an “indeterminate” penalty, Southern Union has

rendered that distinction immaterial. See 567 U.S. at 347. The statute at issue in

Southern Union prescribed a fine of up to “$50,000 for each day of violation.” Id.

(quoting 42 U.S.C. § 6928(d)). Likewise, 21 U.S.C. § 853(a) provides for forfeiture

of, inter alia, “any . . . property used, or intended to be used, in any manner or part

to commit” certain crimes. The maximum penalty authorized by either statute is a

function of discrete factual findings. Richard E. Finneran & Steven K. Luther,

Criminal Forfeiture and the Sixth Amendment: The Role of the Jury at Common



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Law, 35 Cardozo L. Rev. 1, 19–20 (2013) (“Although it is true that criminal

forfeiture is indeterminate in that it lacks a defined numerical maximum, the same

could have been said of the fine in Southern Union.”). Southern Union therefore is

fundamentally inconsistent with the reasoning in Corrado, Hall, and McAuliffe.

Those decisions neither require nor permit this Court to ignore Southern Union.

             iii)   The government’s practical concerns are overstated and fail to
                    recognize existing problems

      The government’s final effort to evade Southern Union is to chronicle a series

of hardships that would befall the government if the Court holds in Bradley’s favor.

(Gov’t Resp. at 18–22.)      To be clear, the government’s so-called “practical

problems” are irrelevant to the merits of Bradley’s Sixth Amendment rights. The

Supreme Court rejected these exact concerns in Southern Union. 567 U.S. at 360.

“For even if [the government’s] predictions are accurate, the rule the Government

espouses is unconstitutional. That should be the end of the matter.” Id. (internal

quotations and citation omitted).

      In any event, the government grossly overstates those practical consequences

and conveniently ignores the burdens created by the existing forfeiture system. The

government is fully capable of identifying the specific property for which it intends

to seek forfeiture in an indictment. While the government now contends such a task

would be insurmountable, two facts undermine that claim. (See Gov’t Resp. at 18–

21.) First, former Rule 7(c)(2) required indictments to identify the property subject

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to forfeiture until that rule’s repeal in 2000. The government has decades of

experience listing items targeted for forfeiture in indictments. Second, in most

cases—including this one—the government is required to file a bill of particulars,

listing each of the items sought for forfeiture, shortly after the indictment. The

government would suffer only a minor inconvenience if forced to include that exact

same information in the indictment.

         Moreover, the government does not need to plead forfeiture allegations with

absolute precision. The government routinely relies on general descriptions of dates

and events when alleging criminal activity in an indictment. The same could be done

for forfeiture allegations. Here, the Sixth Amendment’s application will not restrain

the government’s ability to pursue forfeiture any more than it prevents the

government from prosecuting any other criminal offense.

         Finally, the government has alternative mechanisms for seizing forfeitable

property discovered after the indictment. First, the government can simply rely on

the immensely powerful tool of civil asset forfeiture. See 18 U.S.C. § 981. The

Department of Justice, in fact, already collects over 87% of all forfeited property

through civil asset forfeiture. Dick M. Carpenter II et al., Inst. for Justice, Policing

for Profit: the Abuse of Civil Asset Forfeiture 5 (2d ed. 2015). 2 Second, the


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  Ironically, property owners receive significantly greater procedural protections,
including the right to a jury trial, in civil asset forfeiture proceedings than in criminal
asset forfeiture proceedings. See David B. Smith, A Comparison of Federal Civil

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government can always file a superseding indictment. The idea that any forfeitable

property not identifiable at the time of the indictment will be immune from forfeiture

if the Court rules in Bradley’s favor is simply incorrect.

      B.     Bradley did not waive his right to a jury determination on
             forfeiture

      The Sixth Circuit’s remand order specifically asks this Court to consider the

Sixth Amendment issue now raised by Bradley’s motion. Bradley, 897 F.3d at 784.

Yet the government again seeks to dodge Southern Union by arguing Bradley has

somehow waived his right to assert this claim. (See Gov’t Resp. at 22–24.) The

government’s arguments, however, distort both the scope of Bradley’s guilty plea

and the nature of the claims raised in his motion. (See id.)

      First, Bradley’s guilty plea—in which he admitted violating two conspiracy

statutes—does not waive his jury rights for the two forfeiture statutes at issue here.

Bradley expressly excluded the forfeiture allegations from his guilty plea. (R. 1027,

Plea Hearing Tr., PageID# 4009.) Contrary to the government’s suggestion, the

record does not show that Bradley pled guilty with the “understanding” that he was

also waiving his right to have a jury decide the issue of forfeiture. (See Gov’t Resp.

at 22.) The government notably does not provide a record citation for this claim.


and Criminal Forfeiture Procedures: Which Provides More Protections for
Property     Owners?,     The    Heritage     Foundation    (Jul.    30     2015),
https://www.heritage.org/crime-and-justice/report/comparison-federal-civil-and-
criminal-forfeiture-procedures-which-provides#_ftnref17.

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(See id.) Instead, Bradley consistently excluded forfeiture from his plea, and defense

counsel merely opined that the forfeiture issue was made “ripe” by Bradley’s plea.

(R. 1027, Plea Hearing Tr., PageID# 4010.) That statement is clearly insufficient to

waive Bradley’s Sixth Amendment rights. Cf. Libretti, 516 U.S. at 33–34 (finding

waiver where the defendant agreed to “transfer his right, title, and interest in all of

his assets” to the government as part of his written plea agreement).

         Second, Rule 12(c)(3) does not preclude Bradley from seeking dismissal. The

government’s argument to the contrary is premised on an idea that Bradley is

contesting the adequacy of the indictment. (Gov’t Resp. at 22–23.) Rather, Bradley

challenges this Court’s power to impose a criminal penalty that is not factually

supported by any underlying verdict, plea, or other admissions. (See Motion at 6.)

Because the Court lacks the authority to order forfeiture without an admission or

jury determination, Bradley asks the Court to dismiss the allegations. 3

         C.    Bradley’s motion is not subject to harmless error review

         Bradley’s motion is before the Court for the first time in a newly remanded

proceeding. The government argues, however, that harmless error analysis should

apply. (Gov’t Resp. at 23.) But the government cites only examples of decisions


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  Bradley believes the appropriate remedy is dismissal. However, if the Court finds
the Sixth Amendment applies to criminal forfeiture but does not believe dismissal is
appropriate, it may wish to consider its ability to empanel a jury. Notably, the
government has not requested the Court take that action. Bradley takes no position
on the permissibility of the Court empaneling a jury at this time.

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applying that standard of review on appeal. (See id.) The government provides no

authority for the proposition that district courts should apply a deferential appellate

standard of review in the first instance. (See id.) Here, the issue is open, and the

forfeiture order was vacated. An error has not yet been committed. It would be

wholly inappropriate for this Court to conclude that Bradley’s Sixth Amendment

rights prohibit forfeiture and nevertheless commit a deliberate error because it

perceives that error to be harmless. As such, this Court should review Bradley’s

Sixth Amendment argument de novo, as instructed by the Court of Appeals.

Bradley, 897 F.3d at 784.

II.   The Court should deny the government a money judgment

      The forfeiture statutes do not authorize the imposition of personal money

judgments in lieu of forfeitures of specific pieces of property. See 21 U.S.C. § 853;

18 U.S.C. § 982. Criminal penalties must be strictly construed. See, e.g., Honeycutt,

137 S. Ct. at 1635 n.2; Paroline v. United States, 572 U.S. 434 (2014). Recently,

the Supreme Court rebuked a widespread practice among lower courts of deviating

from that principle in the context of criminal forfeiture. Honeycutt, 137 S. Ct. at

1634 (“There is no basis to read such an end run into the statute.”). The Court should

heed Honeycutt’s guidance here and deny the government a money judgment.

      The government offers two responses. First, it contends Bradley waived his

right to contest the money judgment by not raising the issue on his prior appeal.



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(Gov’t Resp. at 25.) But the Sixth Circuit vacated this Court’s “entire forfeiture

order.” Bradley, 897 F.3d at 785. Thus, the government’s reliance on United States

v. Adesida is misplaced. 129 F.3d 846, 849–50 (6th Cir. 1997). Here, Bradley does

not challenge an existing order or judgment. He is contesting the government’s

ability to obtain a new order against him.

      Second, the government argues Section 853(p) authorizes a money judgment.

(Gov’t Resp. at 25–26.) That section, however, states only that when a defendant

has concealed or divested himself of tainted property, the government may seek

forfeiture of “any other property of the defendant, up to value of the [unavailable]

property.” 21 U.S.C. § 853(p) (emphasis added). Notably, Section 853(p) does not

mention a money judgment but instead contemplates only a defendant’s presently

existing property. The government instead relies on the phrase “up to the value of”

to argue that the statute provides implicit authorization for a money judgment.

(Gov’t Resp. at 25.) But that argument stretches the text too thin. Given the strict

construction required of criminal statutes, the Court should not read a penalty into

the statute where it does not plainly exist. See Honeycutt, 137 S. Ct. at 1635 n.2.

      The Court must also consider the highly burdensome nature of money

judgments in comparison to the traditional forfeiture penalties provided by the

statute. Money judgments hang over a defendant for life, interfering with his ability

to rehabilitate himself and become a productive citizen again, and authorize the



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government to confiscate any assets he later acquires—the very thing prohibited by

the Excessive Fines Clause. See Timbs v. Indiana, _ U.S. _, No. 17-1091, 2019 U.S.

LEXIS 1350, at *7–8 (Feb. 20, 2019) (citing 4 W. Blackstone, Commentaries on the

Laws of England 372 (1769) (“[N]o man shall have a larger amercement imposed

upon him, than his circumstances or personal estate will bear….”).

      The government’s cited authority does not require this Court to hold that a

money judgment is permitted. Nearly all of the cases cited by the government

predate Honeycutt. (See Gov’t Resp. at 26.) The two post-Honeycutt decisions cited

by the government—United States v. Elbeblawy, 899 F.3d 925 (11th Cir. 2018), and

United States v. Ford, 296 F. Supp. 3d 1251 (D. Or. 2017)—are not binding. Further,

the reasoning of both Elbeblawy and Ford is unpersuasive. Both cases rely on the

notion that forfeiture is an “in personam” punishment to conclude the forfeiture

statutes must allow money judgments. But criminal forfeiture obviously operates as

an in personam penalty with respect to substitute property. Bradley does not contest

that fact. Instead, Bradley argues that the forfeiture statutes do not permit the

government to seize future assets not presently in existence through a penal

mechanism not mentioned within the statute.




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                                  CONCLUSION

      For the foregoing reasons, Bradley respectfully requests that the Court grant

the pending motion, dismiss the forfeiture allegations in the indictment, and deny

the government’s request for a money judgment. In the alternative, if this Court does

not dismiss the forfeiture allegations or empanel a jury, Bradley requests an

evidentiary hearing to conduct the requisite factfinding.



                                          Respectfully submitted,

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                          CERTIFICATE OF SERVICE

      I hereby certify this Reply was filed on March 7, 2019, using the Court’s ECF

system, which will send notice of this filing to all counsel of record indicated on the

electronic receipt.

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